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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 YOSCATA MARTINEZ,                                          CIVIL ACTION
               Plaintiff,

                v.

 CAESARS OPERATING COMPANY,                                 NO. 21-1852
 INC., et al,
               Defendants.

                                           ORDER

       AND NOW, this 8th day of June, 2022, it having been reported that the issues between

the parties in the above action have been settled and upon Order of the Court pursuant to the

provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, IT IS

ORDERED that the above action is DISMISSED WITH PREJUDICE, by agreement of

counsel, without costs.

                                                    BY THE COURT:

                                                    /s/ Hon. C. Darnell Jones II

                                                        JONES, C. DARNELL II, J.
